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                     EXHIBIT E
Case 1:21-cv-11205-FDS Document 90-5 Filed 02/28/23 Page 2 of 10
                            A             B            C          D        E           F           G         H      I                            J                             K
 1                                    TPA Claim   Insurer Claim   In                            Date 1st    State State
                         Claimant                                       Law Firm     DOL                                                      Insured                  Policy Number
                                       Number        Number       Lit                           Reported    Acc Juris
 2
 3
      FIORE, JOSEPH                 00003343                      Yes               7/1/2000   10/29/2019    NJ    NJ     BRITE-WAY ELECTRICAL CONTRACTORS         AK01H189472
 4

      WASKO, MARY                   0A102949J                                       8/7/1970   6/30/1988     AZ    AZ     Motorola, Inc                            AW8500451
 5

      FANTINI BAKING COMPANY        0AA00005501                                    12/22/2004 1/3/2005      NH    Mas Fantini Baking Company                       AMXE13522
 6
      Various, DJ                   0AA00458696                   Yes              6/29/1973 4/17/2003       IL    IL     SQUARE D COMPANY                         AW8500445
 7
      COTTOM, DARRELL               0AA088979                                      11/1/2001 7/18/2005      NY     NY     Collins & Walton Plumbing                AJH233257
 8
      RUTZEN FAULKNER, DAWN M       0AA48404401                                    11/27/1989 11/27/1989    NY     NY     Goblin One Hour Cleaners                 AB0061319
 9
      Various                       0AA63400896                   Yes              12/31/1959 1/1/2002       LA    LA     EAGLE ASBESTOS                           1149694
 10
      Various                       0AA63401796                                    12/31/1961 1/1/2002       LA    LA     EAGLE ASBESTOS                           AXXXXXXXX
 11
                                    0AA63402296                                    12/31/1962 1/1/2002       LA    LA     EAGLE ASBESTOS                           AXXXXXXXX
 12 Various
      Various                       0AA63402796                                    12/31/1963 1/1/2002       LA    LA     EAGLE ASBESTOS                           AXXXXXXXX
 13
                                    0AA63403296                                    6/30/1967 1/1/2002        LA    LA     EAGLE ASBESTOS                           AXXXXXXXX
 14 Various
      Various
                    Redacted        0AA63403796                                    6/30/1968 1/1/2002        LA    LA     EAGLE ASBESTOS                Redacted AXXXXXXXX
 15
      POWERS, DENNIS                0AA936581                     Yes               6/3/1995   6/11/2012     CT    CT     State Welding & Fabrication              AJH126545
 16
      Various Asbestos              0AA93937596                                    9/29/1984 1/6/2011       OR     OR NORTHWEST COPPER WORKS, INC                  AAW590013
 17
      Various Asbestos              0AA93938596                   Yes              6/30/1984 1/1/2002       CA     CA     O.C. MCDONALD COMPANY, INC.              AAW667021
 18
      Various Asbestos              0AA93940396                                    1/31/1971 1/1/2002        TX    TX     OKONITE CO                               AW8500395
 19
      Various Asbestos              0AA93940596                                    1/31/1972 1/1/2002        TX    TX     OKONITE CO                               AW8500395
 20
                                    0AA93940896                                    1/31/1970 1/1/2002        TX    TX     OKONITE CO                               AW8500395
 21 Various Asbestos
      Various Asbestos              0AA94047296                                    10/15/1991 1/1/2002      MD     MD PENN-MAR CASTING INC.                        APR162550
 22
      Various Asbestos              0AA94048096                                    10/15/1990 1/1/2002      MD     MD PENN-MAR CASTING INC.                        APR009509
 23
      Various Asbestos              0AA94051296                                    10/15/1992 1/1/2002      MD     MD PENN-MAR CASTING INC.                        APR162550
 24
      Various Asbestos              0AA94052496                                    10/15/1994 1/1/2002      MD     MD PENN-MAR CASTING INC.                        APR162550
 25
      Various Asbestos              0AA94052796                                    10/15/1995 1/1/2002      MD     MD PENN-MAR CASTING INC.                        APR162550
 26
                                                                                                                          PENNWALT CORP. (ELF AUTOCHEM &/OR
      Various Asbestos              0AA94060396                   No               12/31/1964 3/28/2005      PA    PA                                              AXXXXXXXX
 27                                                                                                                       ARKEMA INC.)
                                                                                                                                                                                           Case 1:21-cv-11205-FDS Document 90-5 Filed 02/28/23 Page 3 of 10




                                                                                                                          PENNWALT CORP. (ELF AUTOCHEM &/OR
      Various Asbestos              0AA94063596                                    12/31/1965 3/28/2005      PA    PA                                              AXXXXXXXX
 28                                                                                                                       ARKEMA INC.)
                                                                                                                          PENNWALT CORP. (ELF AUTOCHEM &/OR
      Various Asbestos              0AA94063796                                    12/31/1966 3/28/2005      PA    PA                                              AXXXXXXXX
 29                                                                                                                       ARKEMA INC.)




Open AEIC Claims 1.23.XLSX                                                           Claims                                                                                            1
           L          M            N                      O              P            Q              R               S            T               U               V            W              X                Y        Z
 1       Policy                  Main                                 Incurred     Incurred       Incurred                                                     Reserve       Reserve       Reserve                  Data As of
                    Status                          Minor Coverage                                                Paid Loss    Paid ALAE      Paid Total                                                     TPA
        Effective              Coverage                                 Loss        ALAE            Total                                                       Loss          ALAE          Total                     Date
 2
 3                                                                   118,945,496   82,225,065 201,170,561         97,005,848   78,235,200 175,241,048          21,939,648    3,989,865     25,929,512
                             Workers
      7/1/2000        O                       160                        25,000        8,000         33,000                           5,620        5,620          25,000         2,380        27,380 Allan Gray        31
 4                           Compensatio
                             Workers
      8/1/1970        O      Compensatio 173                            136,178        1,628        137,806          114,757          1,628      116,385          21,421               0      21,421 Allan Gray        31
 5                           n Excess
                             Auto Physical
      1/1/2004        R      Damage -         212                          1,851      -12,601       -10,750            1,851      -12,601        -10,750                 0             0             0 Allan Gray      31
 6                           Commercial
                             General
      6/30/1970       O                       180                                     92,662         92,662                        92,662         92,662                 0             0             0 Allan Gray      31
 7                           Liability
                             Workers
      7/1/2001        O                       160                       -314,942     620,282        305,340         -314,942      472,897        157,956                 0     147,385       147,385 Allan Gray        31
 8                           Compensatio
                             Auto Liability -
      1/1/1989        R                       193                          7,088       1,000          8,088            3,565                       3,565           3,523         1,000          4,523 Allan Gray       31
 9                           Commercial
                             General
      1/1/1959        O                       180                       210,707      888,178      1,098,885          203,423      884,904      1,088,327           7,284         3,274        10,558 Allan Gray        31
 10                          Liability
                             General
      1/1/1961        O                       180                       359,343      813,370      1,172,713          346,830      810,404      1,157,234          12,514         2,965        15,479 Allan Gray        31
 11                          Liability
                             General
                      O                       180                       166,788      878,669      1,045,457          159,599      875,358      1,034,957           7,189         3,311        10,500 Allan Gray        31
 12 1/1/1962                 Liability
                             General
      1/1/1963        O                       180                       461,508      892,741      1,354,249          415,723      889,790      1,305,514          45,784         2,951        48,735 Allan Gray        31
 13                          Liability
                             General
                      O                       180                       602,829      880,210      1,483,039          598,308      876,899      1,475,208           4,520         3,311          7,831 Allan Gray       31
 14 7/1/1966                 Liability
                             General
      7/1/1967        O                       180                       549,080      886,990      1,436,070          548,322      883,679      1,432,001              758        3,311          4,069 Allan Gray       31
 15                          Liability
                             Workers
      6/3/1995        R                       160                          2,510      12,543         15,053                           8,299        8,299           2,510         4,244          6,754 Allan Gray       31
 16                          Compensatio
                             Products
      9/30/1983       R                       181                            800       6,015          6,815              800          4,404        5,204                 0       1,611          1,611 Allan Gray       31
 17                          Liability
                             General
      7/1/1983        O                       170                        27,250       95,294        122,544           27,250       90,273        117,523                 0       5,021          5,021 Allan Gray       31
 18                          Liability
                             General
      1/31/1971       O                       180                                                                                                                        0             0             0 Allan Gray      31
 19                          Liability
                             General
      1/31/1972       O                       180                                                                                                                        0             0             0 Allan Gray      31
 20                          Liability
                             General
                      O                       180                                                                                                                        0             0             0 Allan Gray      31
 21 1/31/1970                Liability
                             Products
      10/16/1990      O                       052                                         163             163                          163            163                0             0             0 Allan Gray      31
 22                          Liability
                             Products
      10/16/1989      R                       052                                         163             163                          163            163                0             0             0 Allan Gray      31
 23                          Liability
                             Products
      10/16/1991      O                       052                                         163             163                          163            163                0             0             0 Allan Gray      31
 24                          Liability
                             Products
      10/16/1993      O                       052                                             3              3                           3                 3             0             0             0 Allan Gray      31
 25                          Liability
                             Products
      10/16/1994      O                       052                                             3              3                           3                 3             0             0             0 Allan Gray      31
 26                          Liability
                             General
      1/1/1964        O                       180                                                                                                                        0             0             0 Allan Gray      31
 27                          Liability
                                                                                                                                                                                                                                     Case 1:21-cv-11205-FDS Document 90-5 Filed 02/28/23 Page 4 of 10




                             General
      1/1/1964        O                       180                                                                                                                        0             0             0 Allan Gray      31
 28                          Liability
                             General
      1/1/1964        O                       180                                                                                                                        0             0             0 Allan Gray      31
 29                          Liability




Open AEIC Claims 1.23.XLSX                                                                               Claims                                                                                                                  2
         AA                                                            AB
 1
      Book Date                                                Description of Loss
 2
 3
         31       PULMONARY AND ASBESTOSIS
 4
                  CLAIMANT SUSTAINED LOW BACK INJURY WHILE EMPLOYED BY INSURED.ICA ISSUED FINDINGS
         31       AND AWARD FOR TOTAL PERMANENT DISABILITY ON 6/1/90.(SELF INSURED RETENTION
 5                $50,000)..REC BY NATIONAL 01-02-02

         31       OV HIT GUARDRAIL THEN HIT IV
 6
         31       DECLARATORY JUDGEMENT
 7
                  PLUMBER:SEVERE ARTHRITIS IN BOTH KNEES, UNKNOWN****100% 15-8****WATCH RT KNEE TX:
         31
 8                CHAIN SAW INJURY HOSPITALIZED 6/11/22 - 6/18/22.
         31       PEDESTRIAN STRUCK BY IV
 9
         31       Bodily Injury resulting from asbestos no n-products exposure
 10
         31       Bodily Injury resulting from asbestos no n-products exposure
 11
         31       Bodily Injury resulting from asbestos no n-products exposure
 12
         31       Bodily Injury resulting from asbestos no n-products exposure
 13
         31       Bodily Injury resulting from asbestos no n-products exposure
 14
         31
                                                                Redacted
                  Bodily Injury resulting from asbestos no n-products exposure
 15
         31       IRONWORKER BILATERAL WRIST AND ELBOW STRAIN
 16
         31       Bodily injury resulting from asbestos pr oducts exposure.
 17
         31       Bodily injury resulting from asbestos no n-products exposure.
 18
         31       Bodily injury resulting from asbestos pr oducts exposure.
 19
         31       Bodily injury resulting from asbestos pr oducts exposure.
 20
         31       Bodily injury resulting from asbestos pr oducts exposure.
 21
         31       Bodily injury resulting from asbestos pr oducts exposure.
 22
         31       Bodily injury resulting from asbestos pr oducts exposure.
 23
         31       Bodily injury resulting from asbestos pr oducts exposure.
 24
         31       Bodily injury resulting from asbestos pr oducts exposure.
 25
         31       Bodily injury resulting from asbestos pr oducts exposure.
 26
         31       Bodily injury resulting from asbestos pr oducts exposure.
 27
                                                                                                          Case 1:21-cv-11205-FDS Document 90-5 Filed 02/28/23 Page 5 of 10




         31       Bodily injury resulting from asbestos pr oducts exposure.
 28
         31       Bodily injury resulting from asbestos pr oducts exposure.
 29




Open AEIC Claims 1.23.XLSX                                                                   Claims   3
Case 1:21-cv-11205-FDS Document 90-5 Filed 02/28/23 Page 6 of 10




              Pages 4-150 Omitted
                              A                      B            C          D        E           F           G            H        I     J                              K
 1                                               TPA Claim   Insurer Claim   In                                        Date 1st   State State
                           Claimant                                                Attorney    Law Firm     DOL                                                        Insured
                                                  Number        Number       Lit                                       Reported   Acc Juris
 2
 3
                                               00000024
      Stevison, Vince                                                                                      1/1/2007   2/3/2016    MO    MO Vitusa Products Inc.
 4                                             01
                                               00000027
      Alcorn, et al                                                                                       6/26/2000 2/9/2016             CA     Builders Showcase
 5                                             01
                                               00000028
      Schallom, Lawrence                                                                                   1/1/2009   2/16/2016         MO Vitusa Products, Inc.
 6                                             01
      Will, Richard                            0000002802                                                  1/1/2009   2/16/2016         MO Vitusa Products, Inc.
 7
      Schnoes, Jeffrey                         0000002803                                                  1/1/2009   2/16/2016         MO Vitusa Products, Inc.
 8
                                               00000037
      Kurdziel, Edward                                                                                    3/25/1999 2/18/2016           MO Korco Mfg.
 9                                             01
                                               00000038
                                                                                                          2/11/1998 3/9/2016             MD Mid-Atlantic Realty Mgmt
 10 McLean, Freeman                            01
      Aquilina, Michael                        0000004501                                                 10/4/2001 3/15/2016            CA     JPS Surface Solutions
 11
                                               00000054
      Wilson, Jay                                                                                         11/29/1998 3/14/2016           LA     Davison Petroleum Products
 12                                            01
      Robinson, Gayle                          0000005402                                                 11/29/1998 3/14/2016           LA     Davison Petroleum Products
 13
      Robinson, Jerry                          0000005403                                                 11/29/1998 3/14/2016           LA     Davison Petroleum Products
 14
                                               00000080
      Koecher, Arnold                                                                                      4/1/1996   1/29/2016    NJ    NJ     Armistead Mechanical
 15                                            01
      Carolan, Paul                            0000008002                                                  1/2/2000   1/29/2016    NJ    NJ     Armistead Mechanical
 16                     Redacted                                                                                                                              Redacted
                                               00000093
      Tex Properties                                                                                       5/2/1992   6/2/2016           IL     Hardcore Heat Trending
 17                                            01
      Scott, Le'Shon                           00000113 01                                                2/10/1998 6/20/2016            MD Mid Atlantic Realty Management
 18

      Adams, Rodney                            0000015601                                                 6/26/2000 9/30/2016            CA     FCM Fireplaces, Inc.
 19
      Alcorn, Ellen Wolf                       0000016401                                                 6/26/2000 10/26/2016           CA     FCM Fireplaces, Inc.
 20
                                               0000017501                                                 2/11/1998 12/5/2016            MD Mid-Atlantic Realty Management Co.
 21 Montgomery, Antonio
                                               00000186
      Best, Alexander                                                                                      7/1/2001   1/3/2017           CA     Leonard's Carpet Service
 22                                            01
      Vaughn, Marion                           0000019501                                                  7/1/2000   1/19/2017    FL    FL     Graphic Chemical & Ink Company
 23
                                               00000204
      Baker, David                                                                                         7/1/2000   2/13/2017          CA     Leonard's Carpet Services
 24                                            01
                                               00000233
      Brown, Mandy                                                                                        2/11/1998 5/10/2017            MD Mid-Atlantic Realty Mgmt
 25                                            01
      Bear, Brandon                            0000023601                                                 10/4/2001 5/16/2017            CA     JPS Surface Solutions
 26
      Bellingham, Stephen                      0000025501                                                 10/4/2001 6/30/2017            CA     JPS Surface Solutions
 27
    Indiana Department of Environmental
                                               0000032701                                                 8/28/2000 2/20/2018            IN     Commercial Finishing Corp.
                                                                                                                                                                                      Case 1:21-cv-11205-FDS Document 90-5 Filed 02/28/23 Page 7 of 10




 28 Management
      NY City School Construction Authority,   09000035                                                   1/26/2009 12/29/2015           NY     200 Chambers Street Condominium
 29
      Calvillo, Louis                          0A100458W                                                  11/26/1972 9/2/2022            CA     Plant Insulation Company
 30




Closed AEIC Claims 1.23.XLSX                                                                  Claims                                                                              1
                  L               M          N             O                  P              Q             R            S            T             U             V           W             X             Y
 1                              Policy                  Main                              Incurred      Incurred     Incurred                                              Reserve       Reserve       Reserve
          Policy Number                    Status                       Minor Coverage                                            Paid Loss     Paid ALAE    Paid Total
                               Effective              Coverage                              Loss         ALAE          Total                                                Loss          ALAE          Total
 2
 3                                                                                       273,782,085    97,909,354 371,691,439 273,782,085      97,909,354 371,691,439               0             0             0
                                                    General
      753018784            12/31/2006        C                    170                                       5,318        5,318                       5,318        5,318              0             0             0
 4                                                  Liability
                                                    General
      AAR710935            6/26/2000         C                    170                            734                        734          734                         734             0             0             0
 5                                                  Liability
                                                    General
      7530187840002        12/31/2008        C                    170                            -569      15,843       15,273           -569       15,843       15,273              0             0             0
 6                                                  Liability
                                                    General
      7530187840002        12/31/2008        C                    170                                                                                                                0             0             0
 7                                                  Liability
                                                    General
      7530187840002        1/1/1900          C                    170                                                                                                                0             0             0
 8                                                  Liability
                                                    General
      NPFB10126            1/1/1900          C                    170                                                                                                                0             0             0
 9                                                  Liability
                                                    General
                           1/1/1900          C                    170                                                                                                                0             0             0
 10 APR509364                                       Liability
                                                    General
      AAR784564            10/4/2001         C                    170                                       2,328        2,328                       2,328        2,328              0             0             0
 11                                                 Liability
                                                    General
      AER358538            1/1/1900          C                    170                                       1,610        1,610                       1,610        1,610              0             0             0
 12                                                 Liability
                                                    General
      AER358538            11/29/1998        C                    170                                       1,803        1,803                       1,803        1,803              0             0             0
 13                                                 Liability
                                                    General
      AER358538            11/29/1998        C                    170                                                                                                                0             0             0
 14                                                 Liability
                                                    General
      CPP 1120473          3/31/1996         C                    170                                       9,565        9,565                       9,565        9,565              0             0             0
 15                                                 Liability
                                                    General
      AKR673423            1/2/2000          C                    170                                          187          187                        187           187             0             0             0
 16     Redacted                                    Liability
                                                    General
      AWR120654            1/1/1900          C                    170                                       2,080        2,080                       2,080        2,080              0             0             0
 17                                                 Liability
                                                    General
      APR509364            2/10/1998         C                    170                                                                                                                0             0             0
 18                                                 Liability
                                                    General
      AAR710935            6/26/2000         C                    170                                                                                                                0             0             0
                                                    Liability
 19
                                                    General
      AAR710935            6/26/2000         C                    170                                                                                                                0             0             0
 20                                                 Liability
                                                    General
                           2/10/1998         C                    170                                                                                                                0             0             0
 21 APR509364                                       Liability
                                                    General
      AAR710930            7/1/2001          C                    170                                                                                                                0             0             0
 22                                                 Liability
                                                    General
      AWR687428            7/1/2000          C                    170                                       5,143        5,143                       5,143        5,143              0             0             0
 23                                                 Liability
                                                    General
      AAR710930            7/1/2000          C                    170                                       6,341        6,341                       6,341        6,341              0             0             0
 24                                                 Liability
                                                    General
      APR509364            2/10/1998         C                    170                                                                                                                0             0             0
 25                                                 Liability
                                                    General
      AAR784564            10/4/2001         C                    170                                          735          735                        735           735             0             0             0
 26                                                 Liability
                                                    General
      AAR784564            10/4/2001         C                    170                            500           564       1,064           500           564        1,064              0             0             0
 27                                                 Liability
                                                    General
      AIR762183            8/27/2000         C                    170                                                                                                                0             0             0
                                                                                                                                                                                                                         Case 1:21-cv-11205-FDS Document 90-5 Filed 02/28/23 Page 8 of 10




 28                                                 Liability
                                                    General
      710017783-0002       1/25/2009         C                    170                                      20,386       20,386                      20,386       20,386              0             0             0
 29                                                 Liability
                                                    Workers
      9102017              1/1/1962          C                    160                                                                                                                0             0             0
 30                                                 Compensatio




Closed AEIC Claims 1.23.XLSX                                                                     Claims                                                                                                              2
              Z          AA           AB                                                             AC
 1                    Data As of
            TPA                    Book Date                                                 Description of Loss
                        Date
 2
 3
      Allan Gray         31           31       exposure to organic solvents and toxic chemicals during career working in the floor industry
 4
                                               construction defects to 65 homes in the developments known as Milestone, Crossroads and Auburn located in
      Allan Gray         31           31
 5                                             Simi Valley, CA in the county of Ventura-Alcorn, et al v. WL Homes LLC dba John Laing Homes
      Allan Gray         31           31       claimant is alleging BI due to exposure to toxic chemicals
 6
      Allan Gray         31           31       claimant is alleging BI due to exposure to toxic chemicals
 7
      Allan Gray         31           31       claimant is alleging BI due to exposure to toxic chemicals
 8
      Allan Gray         31           31       OBI due to alleged exposure to asbestos
 9
                         31           31       OBI due to alleged exposure to lead paint at property managed by the insured
 10 Allan Gray
                                               Construction Defect involving 37 homes within the developments known as Manor & Grove and Stone Creek
      Allan Gray         31           31
 11                                            & Wood Crest located in Stevenson Ranch and Santa Clarita, California.
      Allan Gray         31           31       OBI due to alleged exposure to Benzene
 12
      Allan Gray         31           31       OBI due to alleged exposure to Benzene
 13
      Allan Gray         31           31       OBI due to alleged exposure to Benzene
 14
      Allan Gray         31           31       OBI due to alleged exposure to asbestos from the insured's products
 15
      Allan Gray         31           31       OBI due to alleged exposure to asbestos from the insured's products
 16
                                                                                             Redacted
      Allan Gray         31           31       OPD due to the alleged release of hazardous substances
 17
      Allan Gray         31           31       Alleged exposure to lead paint.
 18
                                               Construction Defect Action presently involves 47 homes within the developments known as Promesa and
      Allan Gray         31           31       Sueno located in Oxnard, California.Rodney Adams, Et al. v. WL Homes LLC dba John Laing Homes.
 19                                            Orange County Superior Court Case No. 30-2015-00786371-C
                                               Construction Defect Action presently involves 79 homes within the developments known as Crossroads,
      Allan Gray         31           31
 20                                            Milestone and Auburn Lane, located in Simi Valey, County of Ventura, California
                         31           31       OBI due to alleged exposure to lead paint
 21 Allan Gray
                                               construction defects involving 41 homes within the Harmony and Mayfair developments located in Sylmar and
      Allan Gray         31           31
 22                                            Valencia, CA
      Allan Gray         31           31       OBI due to alleged exposure to Benzene
 23
                                               construction defects to 16 single family residences in the Chimney Corners development located in Ladera
      Allan Gray         31           31
 24                                            Ranch, Orange County, CA
      Allan Gray         31           31       OBI due to alleged exposure to lead paint at property managed by the insured
 25
                                               Alleging construction defect, action presently involves 31 homes within the Twelve Picket Lane development
      Allan Gray         31           31
 26                                            located in Aliso Viejo, California.Orange County Superior Court Case No. 30-2017-00906900-CU-CD-CX
                                               Alleges Construction Defect involving 6 homes within the developments known as Cricket Club located in the
      Allan Gray         31           31
 27                                            city of Irvine, California.Orange County Superior Court Case No. 30-2017-00916907-CU-CD-CXC.
                                               OPD due to the alleged release of hazardous substances, pollutants or contaminants from the insured's place
      Allan Gray         31           31
                                                                                                                                                                 Case 1:21-cv-11205-FDS Document 90-5 Filed 02/28/23 Page 9 of 10




 28                                            of business.
      Allan Gray         31           31       alleges damage to property related to the construction of the foundation of the building
 29
      Allan Gray         31           31       Asbestos
 30




Closed AEIC Claims 1.23.XLSX                                                                                       Claims                                    3
Case 1:21-cv-11205-FDS Document 90-5 Filed 02/28/23 Page 10 of 10




              Pages 4-225 Omitted




                                2
